22 F.3d 899
    28 Fed.R.Serv.3d 1273
    Wayne H.T. KANO;  Patricia Kano, Trustee and Phillip Kau,Trustee, Plaintiffs-Appellants,v.NATIONAL CONSUMER COOPERATIVE BANK, et al.;  Frank L.Torres, Defendants-Appellees,andJack L. Ayers, Jr. and Elsie M. Ayers,Third-party-plaintiffs-Appellees,George R. Madden, Jr., Third-party-defendant-Appellee.
    No. 92-16754.
    United States Court of Appeals,Ninth Circuit.
    April 18, 1994.
    
      Riccio M. Tanaka, Honolulu, HI, for plaintiffs-appellants.
      James N. Duca, Shelby Ann Floyd, Alston Hunt Floyd &amp; Ing, Honolulu, HI, Frank Torres, pro se, for defendants-appellees.
      Before:  POOLE, WIGGINS, and T.G. NELSON, Circuit Judges.
    
    ORDER
    
      1
      The opening brief filed on behalf of appellant violated Fed.R.App.P. 32(a) in that the lines were not double-spaced, but were spaced only one-and-one half spaces apart.  Furthermore, the footnotes were of a typeface much smaller than that permitted by the rule, and contained approximately eight lines per inch as opposed to six lines per inch in a normal single-spaced format.  We estimate that the opening brief was the equivalent of at least sixty-five pages in length, far exceeding the fifty-page limit.
    
    
      2
      Counsel for appellant took full responsibility for the form of the brief.  However, it is apparent from the reply brief filed by counsel that he knows what the spacing requirements are, even though the footnotes in the reply brief also do not comply with Rule 32.  Consequently, we impose sanctions against counsel for the appellant in the amount of $1,500.  See Adriana Intern. Corp. v. Thoeren, 913 F.2d 1406, 1417 (9th Cir.1990), cert. denied, 498 U.S. 1109, 111 S.Ct. 1019, 112 L.Ed.2d 1100 (1991) (imposing sanctions for failure to comply with Fed.R.App.P. 32(a)); see also 28 U.S.C. 1927 (authorizing sanctions for failure to comply with rules governing form of briefs).  The court acknowledges payment of the sanction.
    
    